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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION

 STATE OF TEXAS, STATE OF
 LOUISIANA, STATE OF MISSISSIPPI,
 STATE OF UTAH, JEFFREY W.
 TORMEY, GUN OWNERS OF
 AMERICA, INC., GUN OWNERS
 FOUNDATION, TENNESSEE
 FIREARMS ASSOCIATION, and
 VIRGINIA CITIZENS DEFENSE
 LEAGUE,

                                Plaintiffs, CIVIL ACTION NO. 2:24-CV-00089-Z

 v.

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS         AND      EXPLOSIVES,
 UNITED STATES DEPARTMENT OF
 JUSTICE, MERRICK GARLAND, in his
 official capacity as Attorney General of
 the United States, and STEVEN M.
 DETTELBACH, in his official capacity as
 Director of ATF,

                              Defendants.


          PLAINTIFF LOUISIANA’S SUPPLEMENTAL BRIEFING
                     IN SUPPORT OF STANDING

      Pursuant to this Court’s order, Louisiana submits the following briefing

“explaining and evidencing” its “basis for standing.” ECF No. 45.

I.    Louisiana Has Standing.

      To establish standing, Louisiana must show an (A) imminent injury (B) caused

by the Defendants and (C) redressable by judicial relief. See, e.g., TransUnion LLC v.




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Ramirez, 594 U.S. 413, 423 (2021) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555,

560–61 (1992)). Louisiana readily satisfies each of these elements.

      A.     Louisiana will suffer a classic “pocketbook injury” caused by the
             Final Rule and redressable by a favorable decision.

      First, an injury in fact. Monetary harms are some of “[t]he most obvious” and

“traditional tangible harms” that count as concrete injuries. TransUnion LLC, 594

U.S. at 425. Louisiana, much like Texas, stands to suffer a direct “pocketbook injury”

from the Final Rule. See ECF 44 at 5 (citing Collins v. Yellen, 141 S. Ct. 1761, 1779

(2021) (describing a pocketbook injury as “a prototypical form of injury in fact”)).

      For standing purposes, record evidence of the exact amount of monetary harm

is unnecessary. See Texas v. United States, 50 F.4th 498, 518 (5th Cir. 2022). In this

context, “a loss of even a small amount of money is ordinarily an ‘injury.’” Czyzewski

v. Jevic Holding Corp., 580 U.S. 451, 464 (2017). Moreover, a future injury “may

suffice if the threatened injury is certainly impending, or there is a substantial risk

that the harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014). Here, the Final Rule will prohibit otherwise eligible persons in Louisiana from

obtaining a Federal Firearms License (“FFL”), thereby reducing the total gun sales—

both at gun shows and online—and subsequently causing Louisiana to suffer a

financial harm via lost sales tax revenue. See 89 Fed. Reg. 29,054 (contemplating 10%

of currently unlicensed dealers leaving the market altogether).




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       Louisiana collects 4.45% sales tax on taxable items sold, including guns. 1 See

La. R.S. 47:302, 321, 321.1, 331; La. R.S. 51:1286; Exhibit A, Declaration of Lucius L.

Morris II, ¶ 12. The sales tax applies to items sold at fairs, festivals, and other special

events—including gun shows. See La. R.S. 47:301(4); Ex. A ¶ 12. 2 The sales tax also

applies to the sale of tickets or admission fees to gun shows. See La. R.S. 47:301(14)(c);

Ex. A ¶ 12. Currently, Louisiana has at least 45 gun shows calendared between now

(June 2024) and the end of the year. See Ex. A ¶ 11. 3 Louisiana also collects a sales

tax on internet sales of guns within the state. See id. ¶ 13. The upshot: Fewer gun

sales in the state will result in less revenue from Louisiana’s sales and use tax. See

Ex. A ¶ 14.

       Second, causation. The Final Rule is expected to reduce the number of people

who sell firearms. The Final Rule confirms this expectation, as it acknowledges that

its implementation will reduce gun sales. See 89 Fed. Reg. 29,054. To accomplish this

goal, the Final Rule will force unlicensed sellers from the marketplace—both in

person and online. See Ex. A ¶¶ 10, 12–13. Without the Final Rule, certain unlicensed




       1 Louisiana does have one weekend a year, normally Labor Day weekend,
where the State’s sales and use tax does not apply to firearms. See La. R.S. 47:305.62
(creating the Annual Louisiana Second Amendment Weekend Holiday Act).

       2 See generally Fairs, Festivals, and Other Special Events, LOUISIANA DEP’T OF

REVENUE, available at https://revenue.louisiana.gov/FAQ/Categories/16 (last visited
May 30, 2024).

       3  See also Louisiana Gun Shows, GUN SHOW TRADER, available at
https://gunshowtrader.com/gunshows/louisiana-gun-shows/ (last visited May 30,
2024).
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dealers would still be able to sell their goods at gun shows or via the internet. See Ex.

A ¶¶ 12–13.

      A decline in the number of unlicensed dealers at Louisiana’s gun shows will

inevitably result in less gun sales, and thus less tax revenue collected by Louisiana.

See Ex. A ¶ 14. Put differently, Louisiana’s economic injury is fairly traceable to the

Final Rule. See, e.g., Simon v. E. Kentucky Welfare Rights Org., 426 U.S. 26, 41 (1976);

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016); Tex. v. Becerra, 575 F. Supp. 3d 701,

714 (N.D. Tex. 2021) (“This causal link ‘requires no more than de facto causality[.]’”

(citation omitted)). Louisiana therefore has “a direct injury in the form of a loss of

specific tax revenues.” Wyoming v. Oklahoma, 502 U.S. 437, 448 (1992). Especially

since any amount of monetary harm is sufficient to establish an injury. See

TransUnion LLC, 594 U.S. at 425; Collins, 141 S. Ct. at 1779; see also ECF 44 at 5.

The Final Rule, therefore, will directly cause Louisiana to suffer a classic pocketbook

injury.

      Third, redressability. Louisiana must demonstrate a “substantial likelihood

that the requested relief will remedy the alleged injury.” Becerra, 575 F. Supp. 3d at

714 (quoting Vermont Agency of Natural Res. v. United States ex rel. Stevens, 529 U.S.

765, 120 (2000) (internal marks omitted)). Here, Louisiana and the other Plaintiff

States request injunctive relief to stop the implementation of the Final Rule.

Enforcement of the Final Rule will lead to Louisiana’s pocketbook injury—the loss of

revenue from sales tax collected on guns sold within Louisiana.




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      Injunctive relief is necessary because economic injuries, such as those alleged

by Louisiana, “cannot be recovered in the ordinary course of litigation.” Rest. L. Ctr.

v. U.S. Dep’t of Lab., 66 F.4th 593, 597 (5th Cir. 2023); see also In re NTE Conn., LLC,

26 F.4th 980, 990–91 (D.C. Cir. 2022) (“We have recognized that financial injury can

be irreparable where no adequate compensatory or other corrective relief will be

available at a later date, in the ordinary course of litigation.” (cleaned up)). Such is

the case here. The Rule’s effects on Louisiana’s sales tax revenue are irreparable, as

the economic loss is “unrecoverable because of the government-defendant’s sovereign

immunity from monetary damages[.]” Natl. Rifle Assn. of Am., Inc. v. Bureau of

Alcohol, Tobacco, Firearms and Explosives, No. 3:23-CV-1471-L, 2024 WL 1349307,

at *9 (N.D. Tex. Mar. 29, 2024); see also Ex. A ¶ 15. Redressability is therefore

satisfied because a grant of injunctive relief would stop the implementation of the

Final Rule, thus preventing Louisiana’s irreparable injury. See Simon v, 426 U.S. at

38 (1976) (Louisiana’s pocketbook injury “is likely to be redressed by a favorable

decision”).

      Because Louisiana has a concrete injury, caused by the Final Rule, and

redressable by a favorable judicial decision, this Court should hold that Louisiana

has demonstrated standing for the purposes of the requested temporary restraining

order. TransUnion LLC, 594 U.S. at 423; Lujan, 504 U.S. at 560–61; ECF 45.

      B.      Texas Has Established Standing, So Louisiana Also Has
              Standing.

      Although Louisiana independently meets the three requirements for standing,

supra I.A, it is “well settled that once [courts] determine that at least one plaintiff


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has standing, [courts] need not consider whether the remaining plaintiffs have

standing to maintain the suit.” McAllen Grace Brethren Church v. Salazar, 764 F.3d

465, 471 (5th Cir. 2014); see also Rumsfeld v. Forum for Acad. & Institutional Rights,

Inc., 547 U.S. 47, 52 n.2 (2006) (“[T]he presence of one party with standing is

sufficient to satisfy Article III’s case-or-controversy requirement.”).

      This Court has already determined that Texas—a fellow Plaintiff State—

“sufficiently demonstrated standing for the purposes of the requested temporary

restraining order.” ECF 44 at 5 (finding Texas adequately pleaded a cognizable

“pocketbook injury” for loss of sales tax revenue from firearm sales at gun shows).

Because Texas has shown standing, Louisiana and all plaintiffs in this matter should

also have standing. See McAllen Grace Brethren Church, 764 F.3d at 471.

                                    CONCLUSION

      For the aforementioned reasons, this Court should find that Louisiana has

established standing and should be afforded the same relief previously granted to

Texas. ECF No. 44 at 14.




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Date: May 31, 2024                       Respectfully submitted,

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                                         /s/ Kelsey L. Smith
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                         CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of this document was filed electronically

(via CM/ECF) on May 31, 2024.

                                             /s/ Kelsey L. Smith
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